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                                 UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF CONNECTICUT


CONLEY F. MONK JR.,

                  Plaintiff,
                                                    Civil Action No. 3:22-cv-01503-JBA
                      v.

UNITED STATES OF AMERICA,                           November 29, 2022

                  Defendant.


          MOTION FOR LEAVE FOR LAW STUDENT INTERNS TO APPEAR

       Plaintiff respectfully requests leave for Law Student Interns MICHELLE FRALING,

REBECCA HARRIS, ADAM HENDERSON, BEATRICE POLLARD, and MICHAEL J.

SULLIVAN to appear in this matter on behalf of CONLEY F. MONK JR. under the supervision of

JASON PARKIN and MICHAEL J. WISHNIE of the Jerome N. Frank Legal Services

Organization, subject to the provisions of the District of Connecticut Local Rules of Civil

Procedure 83.9.

Dated: November 29, 2022



                                      Respectfully submitted,

                                      By: /s/ Jason Parkin
                                      Jason Parkin, ct28499
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                                      Veterans Legal Services Clinic
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